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                       Exhibit 4
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 ALTERWAN, INC.,                 )
                                 )
                 Plaintiff,      )
                                 )
             v.                  )                     C.A. No. 19-1544 (MN)
                                 )
 AMAZON.COM, INC. and AMAZON WEB )
 SERVICES, INC.,                 )
                                 )
                 Defendants.     )

                                              ORDER

       At Wilmington this 20th day of July 2020:

       WHEREAS, on August 19, 2019, Plaintiff initiated the present action (D.I. 1), alleging that

Defendants infringe various claims of U.S. Patent Nos. 7,111,163 (“the ’163 Patent”), 7,318,152

(“the ’152 Patent”), 8,595,478 (“the ’478 patent”), 9,015,471 (“the ’471 Patent”), 9,525,620 (“the

’620 Patent”) and 9,667,534 (“the ’534 Patent”) (collectively, “the Patents-in-Suit”);

       WHEREAS, on October 25, 2019, Defendants moved to dismiss the Complaint (see D.I. 8

& 9), arguing that all claims of the Patents-in-Suit are directed to ineligible subject matter under

35 U.S.C. § 101;

       WHEREAS, across the six Patents-in-Suit, there are more than 170 claims, and Defendants

request that the Court find each of those claims to be directed to patent ineligible subject matter at

the motion to dismiss stage;

       WHEREAS, Defendants assert that there are representative claim groups for the various

Patents-in-Suit but offer little meaningful argument to support these groupings, and Plaintiff

disputes the representativeness of those groupings and argues that some of the claims are not

asserted against Defendants (see D.I. 14 at 12 n.5);
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        WHEREAS, should this case proceed to trial, the asserted claims will be narrowed through

the parties’ disclosures and discovery and, as such, most of the claims subject to Defendants’

motion will not be in issue at later stages of the case (including at trial); and

        WHEREAS, it is not an efficient use of the Court’s time to address the patent eligibility of

more than 170 claims from the six Patents-in-Suit – even with purportedly representative

groupings – at the motion to dismiss stage, particularly where the parties dispute whether those

claims are representative and whether some of those claims are even asserted. 1

        THEREFORE, IT IS HEREBY ORDERED that Defendants’ motion to dismiss is

DENIED without prejudice to renew at summary judgment.




                                                        The Honorable Maryellen Noreika
                                                        United States District Judge




1
        This is particularly true where, as here, Defendants expend minimal effort on Step 2 of the
        Alice inquiry. (See D.I. 9 at 15-16). Defendants lump the more than 170 claims together
        and broadly assert that “there is no inventive concept in the ordered combination of any of
        the conventional components found within the claims of the asserted patents.” (Id. at 16).
        Defendants do not even attempt to parse the analysis by the representative claim groupings
        that they created. Moreover, and more importantly, Step 2 may involve questions of fact
        and often involves a careful review of the specification for indications of whether elements
        are routine, conventional, etc. Defendants, however, cite the common specification only
        once in their analysis at Step 2, along with two pages of the ’163 Patent’s prosecution
        history. (See id.). Such a minimal record at the motion to dismiss stage is unlikely to
        support the patent ineligibility of more than 170 claims.


                                                   2
